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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               SHERRY LYNN WALLACE
               4789 CAPRICE DR
               MIDDLETOWN OH 45044



Analysis Date: August 10, 2021                                                                                                                           Final
Property Address: 4789 CAPRICE DRIVE MIDDLETOWN, OH 45044                                                                              Loan:
                                      Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Nov 2020 to Sept 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Oct 01, 2021:                  Escrow Balance Calculation
 Principal & Interest Pmt:                   394.71                 394.71                   Due Date:                                      Aug 01, 2021
 Escrow Payment:                            329.20                  348.99                   Escrow Balance:                                      11.08
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                         658.40
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                   149.80
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                          $519.68
  Total Payment:                              $723.91                    $743.70


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                  Starting Balance               1,013.73        1,089.70
      Nov 2020            329.20        329.20           75.76         75.55  *   Forced Place Insur             1,267.17        1,343.35
      Dec 2020            329.20                         75.76         75.48  *   Forced Place Insur             1,520.61        1,267.87
      Jan 2021            329.20        658.40           75.76         75.48  *   Forced Place Insur             1,774.05        1,850.79
      Feb 2021            329.20                      1,520.62      1,644.52  *   County Tax                       582.63          206.27
      Feb 2021                          329.20           75.76         75.33  *   Forced Place Insur               506.87          460.14
      Mar 2021            329.20        329.20           75.76         75.26  *   Forced Place Insur               760.31          714.08
      Apr 2021            329.20        329.20           75.76         75.19  *   Forced Place Insur             1,013.75          968.09
      May 2021            329.20                         75.76         75.11  *   Forced Place Insur             1,267.19          892.98
      Jun 2021            329.20        658.40           75.76         75.11  *   Forced Place Insur             1,520.63        1,476.27
      Jul 2021            329.20        329.20           75.76         74.97  *   Forced Place Insur             1,774.07        1,730.50
      Jul 2021                                                      1,644.52  *   County Tax                     1,774.07           85.98
      Aug 2021            329.20                      1,520.62                *   County Tax                       582.65           85.98
      Aug 2021                                           75.76          74.90 *   Forced Place Insur               506.89           11.08
      Sep 2021            329.20                         75.76                *   Forced Place Insur               760.33           11.08
                                                                                  Anticipated Transactions         760.33           11.08
      Aug 2021                     329.20                              74.90      Forced Place Insur                               265.38
      Sep 2021                     329.20                              74.90      Forced Place Insur                               519.68
                      $3,621.20 $3,621.20           $3,874.60      $4,191.22

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.


                                                                                                                                            Page 1
LastCase
     year, we1:17-bk-13076          Doc from
                anticipated that payments 74 your
                                               Filed  08/24/21
                                                  account             Entered
                                                           would be made  during08/24/21     13:54:44
                                                                                 this period equaling      Desc
                                                                                                      3,874.60.   Main
                                                                                                                Under
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Federal law, your lowest monthly balance should not have exceeded 658.39 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Borrower: SHERRY LYNN WALLACE                                                                                                      Loan:
                                               Annual Escrow Account Disclosure Statement
                                                      Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

       Date              Anticipated Payments                                                                  Escrow Balance
                         To Escrow From Escrow               Description                                 Anticipated      Required
                                                             Starting Balance                               519.68          822.24
     Oct 2021               348.99          74.90            Forced Place Insur                             793.77        1,096.33
     Nov 2021               348.99          74.90            Forced Place Insur                           1,067.86        1,370.42
     Dec 2021               348.99          74.90            Forced Place Insur                           1,341.95        1,644.51
     Jan 2022               348.99          74.90            Forced Place Insur                           1,616.04        1,918.60
     Feb 2022               348.99       1,644.52            County Tax                                     320.51          623.07
     Feb 2022                               74.90            Forced Place Insur                             245.61          548.17
     Mar 2022               348.99          74.90            Forced Place Insur                             519.70          822.26
     Apr 2022               348.99          74.90            Forced Place Insur                             793.79        1,096.35
     May 2022               348.99          74.90            Forced Place Insur                           1,067.88        1,370.44
     Jun 2022               348.99          74.90            Forced Place Insur                           1,341.97        1,644.53
     Jul 2022               348.99          74.90            Forced Place Insur                           1,616.06        1,918.62
     Aug 2022               348.99       1,644.52            County Tax                                     320.53          623.09
     Aug 2022                               74.90            Forced Place Insur                             245.63          548.19
     Sep 2022              348.99           74.90            Forced Place Insur                             519.72          822.28
                        $4,187.88       $4,187.84

    (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 548.17. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 697.97 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is 519.68. Your starting
     balance (escrow balance required) according to this analysis should be $822.24. This means you have a shortage of 302.56.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

     We anticipate the total of your coming year bills to be 4,187.84. We divide that amount by the number of payments expected during
     the coming year to obtain your escrow payment.




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Borrower: SHERRY LYNN WALLACE                                                                                           Loan:

     New Escrow Payment Calculation
     Unadjusted Escrow Payment                      348.99
     Surplus Amount:                                  0.00
     Shortage Amount:                                 0.00
     Rounding Adjustment Amount:                      0.00
     Escrow Payment:                               $348.99




    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                CINCINNATI DIVISION

 In Re:                                          Case No. 1:17-bk-13076

 Sherry Lynn King
                                                 Chapter 13
  fka Sherry Lynn Wallace

 Debtor.                                         Judge Jeffery P. Hopkins

                                CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on August 24, 2021 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on August 24, 2021 addressed to:

          Sherry Lynn King, Debtor
          4789 Caprice Drive
          Middletown, OH 45044
                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor
